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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


UNITED STATES OF AMERICA,                      )     Case No. 5:23-cr-00146-CAB
                                               )
                   Plaintiff,                  )     JUDGE CHRISTOPHER A. BOYKO
                                               )
       v.                                      )
                                               )
ROMEO TRAVIS,                                  )   UNOPPOSED MOTION TO TRAVEL
                                               )
                   Defendant                   )
                                               )


       Now comes Defendant Romeo Travis, by and through the undersigned counsel, to

respectfully request permission to travel to New York City on January 30 and 31, 2025, to

explore a potential job opportunity. Mr. Travis’ assigned Probation Officer, Shane Facenbaker

has no objection to this motion.



                                                   Respectfully submitted,

                                                   /s/ Marisa T. Darden
                                                   Marisa T. Darden (0098583)
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                                                    & ARONOFF
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                                                   Attorney for Defendant Romeo Travis
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                                 CERTIFICATE OF SERVICE


       I hereby certify that on January 24, 2025, this filing will be sent by operation of the Court’s

electronic filing system to all parties indicated on the electronic filing receipt. Parties may access

this filing through the Court’s system.



                                                      /s/ Marisa T. Darden
                                                      Marisa T. Darden

                                                      One of the Attorneys for
                                                      Defendant Romeo Travis
